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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
V.

MICHAEL T. FLYNN,

Defendant

 

 

Crim. No. 17-232 (EGS)

UNOPPOSED MOTION FOR
PROTECTIVE ORDER GOVERNING DISCOVERY

Pursuant to Rule 16(d) of the Federal Rules of Criminal Procedure, the United
States of America, by and through Special Counsel Robert S. Mueller, III, hereby
respectfully moves the Court for entry of a protective order governing the production
of discovery by the parties in the above-captioned case. The United States has

conferred With counsel for the defendant, and the defendant consents to this motion

and entry of the attached protective order.

Dated: February fig 2018

Respectfully submitted,

ROBERT S. MUELLER III
Special Counsel

 

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andori L.\f'*."_»m Grack

Zainab N. Ahmad
(202) 616-0800

